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                   15                              UNITED STATES DISTRICT COURT

                   16                           NORTHERN DISTRICT OF CALIFORNIA

                   17                                     OAKLAND DIVISION
                   18

                   19
                        In re Google RTB Consumer Privacy               Master File No. 5:21-cv-02155-YGR
                   20   Litigation,
                                                                        G OOGLE’S OPPOSITION TO PLAINTIFFS’
                   21                                                   MOTION PURSUANT TO L.R 6-3 AND 7-
                                                                        11 TO AMEND CASE SCHEDULE
                   22   This Document Relates to: all actions,
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ATTORNEYS AT LAW                                                                 GOOGLE’S OPPOSITION TO PLAINTIFF’S
 S AN FRANCISCO                                                                     MOT. TO AMEND CASE SCHEDULE
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                    1   I.     INTRODUCTION

                    2          Defendant Google LLC (“Google”) respectfully requests that the Court deny without

                    3   prejudice Plaintiffs’ Administrative Motion (“Motion”) to upend the current case schedule, as it is

                    4   procedurally improper, unjustified, and premature. As an initial matter, an Administrative Motion

                    5   is not the proper mechanism for Plaintiffs to substantially modify the entire case schedule. The

                    6   Court should also deny the Motion because Plaintiffs have not demonstrated good cause. Although

                    7   the Parties have nearly substantially completed their document productions, Plaintiffs request an

                    8   additional four months – over six months from today – to prepare their class certification motion.

                    9   Yet Plaintiffs have not shown diligence or specified the additional discovery that justifies such a

                   10   lengthy extension, focusing instead on the pending motions that may impact the scope of discovery.

                   11   But that is a red herring. Google has already agreed to meet and confer with Plaintiffs regarding a

                   12   potential modification of the case schedule once Magistrate Judge DeMarchi issues those orders.

                   13          The Motion is ill-supported and a waste of judicial resources. The Court should deny it.

                   14   II.    ARGUMENT

                   15          A.      Plaintiffs’ Administrative Motion Is Procedurally Improper.

                   16          It is well-settled that a motion that is procedurally improper may be denied on that basis

                   17   alone. Estate of B.H. v. Netflix, Inc., 2022 WL 551701, at *1, n.1 (N.D. Cal. Jan. 12, 2022)

                   18   (Gonzalez Rogers, J.) (denying motion that “improperly raise[d] substantive issues in

                   19   an administrative motion”).    As Google informed Plaintiffs during meet and confer, an

                   20   Administrative Motion is not the proper means by which to amend the entire case schedule and

                   21   postpone all significant deadlines, including the trial date, by four to seven months. (Declaration

                   22   of Jeffrey Gutkin “Gutkin Decl.” ¶ 3.) Administrative Motions are reserved for “miscellaneous

                   23   administrative matters, not otherwise governed by federal statute, Federal Rule, local rule, or

                   24   standing order of the assigned Judge.” L.R. 7-11. Local Rule 16-2(d), which governs here, states

                   25   that a party seeking “Relief from [a] Case Management Schedule” must “serve and file a motion .

                   26   . . pursuant to Civil L.R. 7.” L.R. 16-2(d). Accordingly, Plaintiffs’ request to modify the schedule

                   27   should be brought pursuant to a noticed motion.

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                    1           Counsel’s election to ignore the Local Rules here is particularly unjustifiable given that the
                    2   largely overlapping group of attorneys in the related Calhoun case filed a request to extend the case
                    3   schedule there as a noticed Rule 16 motion only four months ago. Calhoun v. Google, No. 20-cv-
                    4   05146-YGR, ECF No. 451 (N.D. Cal. Jan. 4, 2022). 1 The Motion should be denied for this alone.2
                    5           B.      Plaintiffs Have Not Demonstrated Good Cause.
                    6           Even if the Court were to excuse these procedural defects, the Motion should still be denied
                    7   because Plaintiffs have not shown good cause to support their requested relief.
                    8           First, Plaintiffs’ Motion does not establish that the existing deadlines cannot be met absent
                    9   an extension. Plaintiffs claim they need additional time “to conduct depositions, retain and work
                   10   with experts, and prepare a class certification motion.” (Mot. at 3.) But their Motion does not
                   11   explain why Plaintiffs are not prepared to meet the existing deadlines, nor does it demonstrate why
                   12   they need over six months from now to prepare their class certification motion. “Plaintiff[s] merely
                   13   argue[] that [t]he current state of discovery [] justifies a modification of the deadline [to file their
                   14   class certification motion] without specifying how or why the current state of discovery is
                   15   insufficient for the particular purpose[.]” Keck v. Alibaba.com, 2018 WL 5292212, at *2 (N.D.
                   16   Cal. 2018) (citation and internal quotation marks omitted). Such general assertions do not establish
                   17   good cause. Id. See also Cards Against Humanity, LLC v. Loftek Technological Co., LLC, 2014
                   18   WL 120976, at *3 (N.D. Cal. Jan. 13, 2014) (Gonzalez Rogers, J.) (denying “blanket two-month
                   19   extension” when Plaintiffs had made “no affirmative showing why the time allotted” is inadequate).
                   20

                   21
                        1 During meet and confer, Plaintiffs pointed to Section 3 of Your Honor’s Standing Order to justify

                   22   their approach. See Gutkin Decl. ¶ 4; Standing Order at Section 3 (“Parties seeking to continue
                        hearings . . . modify briefing schedules, or make any other procedural changes shall submit a signed
                   23   stipulation . . . or, if a stipulation is not possible, a Motion for Administrative Relief as contemplated
                        by Civil Local Rule 7-11.”). Google interprets this standing order to refer to individual hearings or
                   24   briefing schedules, not to permit an overhaul of the entire case schedule to be requested by
                        Administrative Motion, which would appear to conflict with procedure set forth in Local Rule 16-
                   25   2. F.R.C.P. 83(b), 1985 Advisory Committee Note (noting that the “last sentence in Rule 83 has
                        been amended to make certain that standing orders are not inconsistent with the Federal Rules or
                   26   any local district court rules”).
                        2 Not only do Plaintiffs seek to circumvent the traditional 14-day briefing schedule for noticed
                   27
                        motions, Plaintiffs’ counsel also refused Google’s request that Plaintiffs file their Motion on
                   28   Monday, April 11, to at least afford Google four business days (rather than two business days) to
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                        respond to their Motion. (Gutkin Decl. ¶ 5.)
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 S AN FRANCISCO                                                             2                  MOT. TO AMEND CASE SCHEDULE
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                    1          Plaintiffs attempt to justify their requested extension by arguing that Google “either will not
                    2   be able to substantially complete its document production in the next three weeks” or will do so
                    3   “only by producing an enormous volume of documents . . . at the very last moment.” (Mot. at 2.)
                    4   Not so. Google has worked diligently – including by commencing custodial review immediately
                    5   after the Court entered an ESI protocol in December 2021 and working during the weeks of the
                    6   Christmas and New Year’s Eve holidays – to comply with the April 21 substantial completion
                    7   deadline. (Gutkin Decl. ¶ 6.) Indeed, as Google has repeatedly informed Plaintiffs, it remains on
                    8   track to substantially complete its production of documents by that date. (Id.) 3
                    9          The only basis for Plaintiffs’ speculation that Google’s production is not on track to be
                   10   substantially complete by April 21 is a comparison of the volume of documents Google has
                   11   produced so far in this case (42,723) to the productions in the related Calhoun and Brown cases.
                   12   Such “vague notions that there should have been more than what was produced are speculative and
                   13   are an insufficient premise for judicial action.” U.S. v. O’Keefe, 537 F.Supp.2d 14, 22 (D.D.C.
                   14   2008). In any event, Plaintiffs’ comparison is unfounded. This case is much narrower than either
                   15   Brown or Calhoun, as it does not involve the scope of collection of data by Google, but instead
                   16   pertains only to the data allegedly shared with third-parties through one particular product.
                   17   Plaintiffs’ counsel has repeatedly described this case as different from Brown or Calhoun,
                   18   contrasting this case as follows in the last hearing before Your Honor: “we’re challenging a
                   19   different practice, a different premise . . . it is about dissemination and sale of private data as
                   20   opposed to collection of private data from account users.” (2/11/22 Hearing Tr. at 38:19-23); see
                   21   also ECF No. 40 at 2, n.1 (asserting that “Unlike [Hewitt], Brown and Calhoun assert claims based
                   22   on Google’s taking of information from individuals using the Chrome browser, and so on behalf of
                   23   distinct classes”). Lastly, while Plaintiffs repeatedly claim to have produced twice as many
                   24   documents as Google, unlike Google’s production, Plaintiffs’ productions consist largely of what
                   25   appear to be junk emails. (Gutkin Decl. ¶ 8.) For these reasons, Plaintiffs’ claimed expectation
                   26   that Google must produce a vast number of additional documents is baseless.
                   27
                        3 Indeed, Google has kept Plaintiffs apprised of its document review progress, most recently by

                   28   informing Plaintiffs’ counsel on March 25, 2022 that Google’s team had reviewed approximately
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                        80% of Google’s total document population. (Gutkin Decl. ¶ 7.)
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                    1          Second, while Plaintiffs’ Motion is also premised on the need for guidance on pending
                    2   discovery Motions, their proposal is premature. Google acknowledges that there are currently six
                    3   discovery motions pending, several of which could alter the scope of discovery. However, if
                    4   Magistrate Judge DeMarchi orders additional discovery, Google has agreed to negotiate in good
                    5   faith with Plaintiffs regarding a potential extension of the case schedule when that occurs. (Gutkin
                    6   Decl. ¶ 11.) It is premature to agree to an extension (much less enter a new scheduling order) now,
                    7   when neither Party knows how the orders on the pending motions may alter the scope of discovery
                    8   for both Google and Plaintiffs. See In re PFA Insurance Marketing Litigation, 2021 WL 3476775,
                    9   at *2 (N.D. Cal. Aug 4., 2021) (Gonzalez Rogers, J.) (denying request to extend discovery cut off
                   10   as “premature” when pending legal decision could impact the scope of the case).
                   11          Plaintiffs only account for this issue by proposing an extension of the substantial completion
                   12   deadline to 28 days from the date Judge DeMarchi issues her orders on the pending discovery
                   13   motions. However, it is impossible to know whether that time frame is appropriate, given the
                   14   breadth of the pending discovery disputes, which relate to, inter alia, 43 requests for production
                   15   (ECF Nos. 141, 142, 143, 157, 171, 172), 49 disputed search strings and the inclusion of the many
                   16   additional custodians that Plaintiffs have demanded. (ECF No. 157.)
                   17          Third, an extension is only warranted if Plaintiffs show the existing deadlines “cannot
                   18   reasonably be met despite the diligence of the party seeking the extension.” Johnson v. Mammoth,
                   19   975 F.2d at 610 (9th Cir. 1992). The Motion offers only a conclusory assertion that “there is nothing
                   20   in the record to suggest that plaintiffs have been dilatory.” (Mot. at 3.) Not so. With the exception
                   21   of a draft 30(b)(6) deposition notice sent on March 29, 2022, Plaintiffs have served no deposition
                   22   notices and have just sent their first written interrogatories on April 6, 2022. (Gutkin Decl. ¶¶9-
                   23   10.) The Motion also suggests that Plaintiffs have not been diligent with respect to preparing expert
                   24   testimony. (Mot. at 3 (noting that additional time is needed to “retain and work with experts”).)
                   25   Such inattention cannot satisfy the good cause standard. See Wilson v. Frito–Lay N. Am., Inc., 2015
                   26   WL 846546, at *2 (N.D. Cal. Feb. 25, 2015) (denying motion to extend discovery schedule where
                   27   “Plaintiffs have not demonstrated they diligently pursued the discovery at issue”).
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                    1          While it is true that Plaintiffs served documents requests in May and June of 2021, discovery
                    2   was initially stymied for many months by Plaintiffs’ attempt to force Google to adopt a patently
                    3   unreasonable ESI protocol, which explicitly prevented Google from commencing any custodial
                    4   review until after conducting extensive meet-and-confer discussions and briefing. (Gutkin Decl.
                    5   ¶12; ECF No. 95 at 7 (Plaintiffs’ proposed provision, which Google opposed and the parties did
                    6   not adopt after the Court’s ruling, required the producing party to confer with the requesting party
                    7   “before using any search terms”).) While Google largely prevailed on essentially all of the disputed
                    8   terms of the ESI protocol, (compare red text in ECF No. 95 with order entered at ECF No. 125),
                    9   Plaintiffs’ tactics prevented discovery progress for months.
                   10          Fourth, Plaintiffs’ contention that their proposal is a “short extension” that will not
                   11   prejudice Google is meritless. Given that the bulk of the discovery burden has fallen, and will
                   12   continue to fall on Google, Plaintiffs’ proposed schedule is grossly inequitable. Plaintiffs’ proposal
                   13   only permits a modest four-week extension for the substantial production deadline, regardless of
                   14   how the scope of discovery changes, while giving Plaintiffs an additional four months to brief their
                   15   motion for class certification. This proposal would unduly benefit Plaintiffs and should accordingly
                   16   be rejected.
                   17   III.   C ONCLUSION
                   18          For the foregoing reasons, Google requests that the Court deny Plaintiffs’ scheduling
                   19   modification without prejudice. Google instead proposes that the Parties meet and confer to discuss
                   20   a potential modification of the case schedule promptly after Judge DeMarchi issues her rulings on
                   21   the pending discovery disputes. Alternatively, if Your Honor is inclined to modify the schedule
                   22   now, Google respectfully requests that the Court direct the Parties to meet and confer and attempt
                   23   to submit a joint proposal for the Court to adopt, which accounts for the uncertainty regarding the
                   24   potential changes to the scope of discovery and more equitably alters the schedule to afford any
                   25   additional needed time to both sides.
                   26   ///
                   27   ///
                   28   ///
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                    1    Dated: April 12, 2022                  By: /s/ Jeffrey M. Gutkin
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